Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF MASSACHUSETTS

Case number (if known)                                                     Chapter      11
                                                                                                                        □ Check if this an
                                                                                                                          amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                          04/20

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document. Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Top Line Granite Design Inc.

2.   All other names debtor
     used in the last 8 years     DBA Design Top Line Granite
     Include any assumed          DBA Top Line Granite Design
     names, trade names and       FDBA Brazil Stones Inc.
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                    Mailing address, if different from principal place of
                                                                                                 business

                                                                                                 P.O. Box 705
                                  347 Middlesex Road                                             353 Middlesex Road
                                  Tyngsboro, MA 01879                                            Tyngsboro, MA 0^1879                    _______
                                  Number, Street, City, State & ZIP Code                         P.b. Box, Number, Street, City, State & ZIP Code

                                  Middlesex                                                      Location of principal assets, if different from principal
                                  County                                                         place of business

                                                                                                 Number, Street, City, State & ZIP Code


5,   Debtor's website (URL)       https://toplinegranitedesign.com/


6.   Type of debtor               B Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                  □ Partnership (excluding LLP)
                                  □ Other. Specify:________________________________________________________




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                             page 1
Debtor    Top Line Granite Design Inc.                                                         Case number (if known)
          Name


7.   Describe debtor's business    A. Check one:
                                    □ Health Care Business (as defined in 11 U.S.C. § 101 (27A))
                                    □ Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                    □ Raiiroad (as defined in 11 U.S.C. § 101(44))
                                    □ Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                    □ Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                    □ Ciearing Bank (as defined in 11 U.S.C. § 781(3))

                                    B None of the above

                                    B. Check all that apply
                                    □ Tax-exempt entity (as described in 26 U.S.C. §501)
                                    □ Investment company, including hedge fund or pooled Investment vehicle (as defined in 15 U.S.C. §80a-3)
                                    □ Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                    C. NAiCS (North American industry Classification System) 4-digit code that best describes debtor.
                                       See http://www.uscourts.qov/tour-diqit-nationai-association-naics-codes.
                                            3281

8.   Under which chapter of the     Check one:
     Bankruptcy Code is the         □ Chapter?
     debtor fiiing?
                                    □ Chapter 9

     A debtor who is a “smali        ■ Chapter 11. Check all that apply.
     business debtor” must check
     the first sub-box. A debtor as
                                                        □  The debtor is a smail business debtor as defined in 11 U.S.C. § 101(510), and its aggregate
                                                           noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     defined in § 1182(1) who
                                                           $2,725,625. If fhls sub-box is seiected, attach the most recent balance sheet, statement of
     elects to proceed under
                                                           operations, cash-flow statement, and federal income tax return or if any of these documents do not
     subchapter V of chapter 11
                                                           exist, follow the procedure in 11 U.S.C. § 1116(1 )(B).
     (whether or not the debtor Is a
     "small business debtor”’) must                        The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent iiquidated
     check the second sub-box.                             debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                           proceed under Subchapter V of Chapter 11. If this sub-box is seiected, attach the most recent
                                                           baiance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                           any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                         □ A plan is being fiied with this petition.
                                                         □ Acceptances of the pian were soiicited prepetition from one or more ciasses of creditors, in
                                                              accordance with 11 U.S.C. § 1126(b).
                                                         □ The debtor is required to file periodic reports (for exampie, 10K and 10Q) with the Securities and
                                                              Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                              Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                              (Official Form 201 A) with this form.
                                                         □ The debtor is a sheil company as defined in the Securities Exchange Act of 1934 Ruie 12b-2.
                                    □ Chapter 12

9.   Were prior bankruptcy          ■ No.
     cases filed by or against
     the debtor within the last 8   □ Yes.
     years?
     If more than 2 cases, attach a
     separate list.                        District                                  When                               Case number
                                           District                                  When                               Case number




 Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                             page 2
Debtor    Top Line Granite Design Inc.                                                                                   Case number (if known)
          Name

10. Are any bankruptcy cases              ■ No
    pending or being filed by a
    business partner or an                □ Yes.
    affiliate of the debtor?




     List all cases. If more than 1
     attach a separate list                         Debtor                                                                                             Relationship
                                                    District                                            When                                           Case number, if known


11. Why is the case filed in          Check all that apply:
    this district?
                                             Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                             preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                      □      A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


12. Does the debtor own or            ■ No
    have possession of any
                                                   Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    real property or personal         □ Yes.
    property that needs
    immediate attention?                           Why does the property need immediate attention? [Check all that apply.)
                                                   □ It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                     What is the hazard?                                ______________                               __________________ ______
                                                   □ It needs to be physically secured or protected from the weather.
                                                   □ It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                    livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                   □ Other      ....   ..................... ...................................................................................... ............................... .......
                                                   Where is the property?                     _____________                        __________________                                  _________ ________
                                                                                          Number, Street, City, State & ZIP Code
                                                   Is the property insured?
                                                   □ No
                                                   □ Yes,      Insurance agency
                                                               Contact name
                                                               Phone


          Statistical and administrative information

13. Debtor's estimation of                     Check one:
    available funds
                                               ■ Funds will be available for distribution to unsecured creditors.
                                               □ After any administrative expenses are paid, no funds will be available to unsecured creditors.


14. Estimated number of               □ 1-49                                                    □ 1,000-5,000                                                   □ 25,001-50,000
    creditors                         □ 50-99                                                   □ 5001-10,000                                                   □ 50,001-100,000
                                      ■ 100-199                                                 □ 10,001-25,000                                                 □ MorethanlOO.OOO
                                      □ 200-999

15. Estimated Assets                  □ $0 - $50,000                                            ■ $1,000,001 - $10 million                                      □ $500,000,001 - $1 billion
                                      □ $50,001 -$100,000                                       □ $10,000,001 -$50 million                                      □ $1,000,000,001 - $10 billion
                                      □ $100,001 -$500,000                                      □ $50,000,001 -$100 million                                     □ $10,000,000,001 - $50 billion
                                      □ $500,001 - $1 million                                   □ $100,000,001 - $500 million                                   □ More than $50 billion


16. Estimated liabilities             □ $0 - $50,000                                            □ $1,000,001 - $10 million                                       □ $500,000,001 - $1 billion

 Cfficial Form 201                              Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                                 pages
Debtor   Top Line Granite Design Inc.                                                 Case number {if known)
         Name

                            □ $50,001 -$100,000                       ■ $10,000,001 -$50 million               □ $1,000,000,001 - $10 billion
                            □ $100,001 -$500,000                      □ $50,000,001 -$100 million              □ $10,000,000,001 -$50 billion
                            □ $500,001 - $1 million                   □ $100,000,001 - $500 million            □ More than $50 billion




Official Form 201                   Voluntary Petition for Non-Individuals Filing for Bankruptcy                                         page 4
Debtor   TopJ-ine Granite Design Inc.                                                               Case number {if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING - Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can resuit in fines up to $500,000 or
          imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                 The debtor requests relief in accordance with the chapter of titie 11, United States Code, specified in this petition,
    representative of debtor
                                  i have been authorized to fiie this petition on behalf of the debtor.

                                  I have examined the information in this petition and have a reasonabie belief that the information is true and correct.

                                  I declare under penalty of perjury that the foregoing is true and correct.

                                  Executed on
                                                          ID / YYYY


                             X                                                                             Edmilson Ramos
                                  Signature of authorized representative of debtor                         Printed name

                                  Title   President




                              Y                                                                           -~eate             Ijb
18. Signature of attorney
                                      lature of atrorney for debtor                                                MM/pD/YYYY

                                  Alan L. Braunstein, Esq.
                                  Printed name

                                  Riemer & Braunstein LLP
                                  Firm name

                                  100 Cambridge Street
                                  22nd Floor
                                  Boston, MA02114               _______
                                  Number, Street, City, State & ZIP Code


                                  Contact phone      (617)523-9000                Email address


                                  546042 MA
                                  Bar number and State




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     pages
                            TOP LINE GRANITE DESIGN INC.

                              CONSENT OF SOLE DIRECTOR

       The undersigned, being the sole member of the Board of Directors for Top Line Granite

Design, Inc. (the "Company"), a Massachusetts corporation, hereby consent to the adoption of

the following votes and resolutions:

       VOTED:         That the Company shall seek relief under Chapter 11 of Title 11 of the
                      United States Code, 11 U.S.C. Section 101        (as amended, the
                      "Bankruptcy Code").

       FURTHER
       VOTED:         That Edmilson Ramos, as the sole director of the Company (the
                      "Authorized Officer"), is hereby authorized to (i) prepare and file on
                      behalf of the Company a petition for relief under Chapter 11 of the
                      Bankruptcy Code, (ii) execute on behalf of the Company such petition,
                      schedules and statements as the Authorized Officer may deem necessary
                      or appropriate in connection therewith, (iii) cause the Company to perform
                      its functions and duties as a debtor-in-possession pursuant to the
                      applicable provisions of the Bankruptcy Code, (iv) take such steps on
                      behalf of the Company as may be necessary or appropriate to the
                      Company's reorganization effort, including, without limitation, negotiating
                      or otherwise obtaining court authority for use of cash collateral,
                      postpetition financing, the assumption or rejection of executory contracts
                      and unexpired leases, and the sale or other disposition of property other
                      than in the ordinary course of business, (v) negotiate, prepare and propose
                      to creditors such plan of reorganization as the Authorized Officer may
                      deem to be feasible and in the best interests of the Company, (vi) file any
                      pleading appropriate or necessary for the Company to seek relief under
                      any other chapter of the Bankruptcy Code, and (vii) execute such further
                      documents and do such further acts as the Authorized Officer may deem
                      necessary or appropriate with respect to the foregoing, including, to the
                      extent applicable, the delegation of such foregoing authority to other
                      officers and employees of the Company; the execution of any document or
                      the doing of any act by the Authorized Officer in connection with such
                      proceedings to be conclusively presumed to be authorized by this vote.
            FURTHER
            VOTED:    That the law firm of Riemer & Braunstein LLP and Alan L. Braunstein,
                      Esq. of that firm are hereby retained as counsel under general retainer to
                      represent the Company in all proceedings commenced under or resulting
                      from these votes, and that the Company compensate such counsel for its
                      services at its hourly rates in effect at the time such services are rendered,
                      and to reimburse such counsel in full for its cash disbursements and for
                      such expenses as such counsel customarily bills to its clients, and that the
                      Authorized Officer is hereby authorized to enter into such agreements as
                      may be necessary or appropriate to effect such retention.

            EURTHER
            VOTED:
                      That the Authorized Person be, and hereby is, authorized and empowered
                      on behalf of and in the name of the Company to retain and employ other
                      attorneys, investment bankers, accountants, restructuring professionals,
                      financial advisors and other professionals to assist in the Company’s
                      chapter 11 case on such terms as are deemed necessary, proper or
                      desirable.



Dated: March           2022




Name:' Edmilsdn Ramos
Title: President and sole Director of Top Line Granite Design, Inc.




3064765.3
                           UNITED STATES BANKRUPTCY COURT
                              DISTRICT OE MASSACHUSETTS


In re:
TOP LINE GRANITE DESIGN INC.                        Case No. 22-                (____ )

                                                    Chapter 11
                                 Debtor.

                        DECLARATION RE; ELECTRONIC FILING

PART I- DECLARATION
         I, Edmilson Ramos, as President of Top Line Granite Design Inc., debtor herein, hereby
declare under penalty of perjury that all of the information contained in the Chapter 11 Bankruptcy
Petition for the above-captioned debtor (the “Document”), filed electronically, is true and correct.
I understand that this DECLARATION RE: ELECTRONIC TILING (the “Declaration”) is to be
filed with the Clerk of the Court electronically concurrently with the electronic filing of the
Document. I understand that failure to file this Declaration may cause the Document to be struck
and any request contained or relying thereon to be denied, without further notice
         I further understand that, pursuant to the Massachusetts Electronic Tiling Local Rule
(MEER) 7(b), all paper documents containing original signatures executed under the penalties of
perjury and filed electronically with the Court are the property of the bankruptcy estate and shall
be maintained by the authorized CM/ECF Registered User for a period of five (5) years after the
closing of this case.

Dated: March            . 2022
                                              Edmilson Rar|fos, President
PART II - DECLARATION OF ATTORNEY
        I certify that (i) the affiant signed this form before I submitted the Document, (ii) I gave
the affiant a copy of the Document and this Declaration, and (iii) I have followed all other
electronic filing requirements currently established by local rule and standing order. This
Declaration is based on all information of which I have knowledge and my signature below
constitutes my certification of the foregoing under Fed.R.Bankr.P. 9011.1 have reviewed and will
comply with the provisions of MEFR 7.


Dated: March 25, 2022
                                                     /s/ Alan L Braunstein
                                                     Alan L. Braunstein, BBO #546042
                                                     RIEMER & BRAUNSTEIN LLP
                                                      100 Cambridge Street, 22"^ Eloor
                                                     Boston, Massachusetts 02114
                                                     Tel: (617) 880-3516
                                                     Email: abraunstein@riemeiiaw.com
3071661.2
                                                              United States Bankruptcy Court
                                                                     District of Massachusetts
 In re     Top Line Granite Design Inc.                                                                    Case No.
                                                                                 Debtor(s)                 Chapter    11




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Top Line Granite Design Inc, in the above captioned action, certifies that the
following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or
more of any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



■ None [Check if applicable]




 March 25, 2022                                                      Isl Alan L. Braunstein, Esq. ______    ___
Date                                                                 Alan L. Braunstein, Esq.
                                                                     Signature of Attorney or Litigant
                                                                     Counsel for Top Line Granite Design Inc.
                                                                     Riemer & Braunstein LLP
                                                                     100 Cambridge Street
                                                                     22nd Floor
                                                                     Boston, MA 02114
                                                                     (617) 523-9000 Fax:(617) 880-3456




Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
